                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI

GUADALUPE ADAMS, Individually,                    )
                                                  )
             Plaintiff,                           )
                                                  )
vs.                                               )   Cause No. 6:16-cv-3393
                                                  )
T-N-T McDONALD’S OF NIXA, LLC,                    )
                                                  )
             Defendant.                           )


                                     JOINT STAUS REPORT

       In accordance with the court’s order dated March 1, 2017 (Document 18), the parties

come before this court and file a joint status report. In support thereof, the parties state that

settlement has been reached in this matter. All parties have fully executed the settlement

agreement and at this time Defendant’s counsel is awaiting receipt of the settlement funds. The

parties request additional time up to and including April 7, 2017, file to a dismissal in this matter.

                                                       FOX GALVIN, LLC



                                                       /s/ Dana Walker Tucker
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                                                       Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

         I hereby certify that on March 28, 2017, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following attorneys of record:

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                                                   /s/ Dana Walker Tucker




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